                           THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION
                               Civil Action No. 5:19-CV-327-FL


 MANUEL TORRES,                                           )
                                                          )
                         Plaintiff,                       )
                                                          )    AMENDED CASE MANAGEMENT
         v.                                               )      ORDER AND STIPULATED
                                                          )    CONSENT PROTECTIVE ORDER
 TRACY LYNN CARTER, in his official                       )
 capacity as Lee County Sheriff;                          )
 TOWN OF SILER CITY, NORTH                                )
 CAROLINA; and TOWN OF APEX,                              )
 NORTH CAROLINA; NIGHTHAWK                                )
 COMPANY POLICE, LLC;                                     )
                                                          )
                       Defendants.                        )

        THE COURT, having reviewed the Motion made by Plaintiff to extend by ninety days the

discovery and dispositive motion deadlines set out in the Case Management Order [DE 20] and to amend

the Stipulated Consent Protection Order [DE 28] finds that the Motion is made in good faith and for good

cause and hereby GRANTS the Motion.

        It is ORDERED that the parties be allowed until and including August 13, 2020, in which to

complete discovery and to and including September 13, 2020, in which to file any dispositive motions.

        It is FURTHER ORDERED that the Case Management Order [DE 20] be amended to allow for

Plaintiff Manuel Torres’s deposition to be conducted in person for an amount of time not to exceed ten (10)

hours of “on record” testimony (not including breaks).

        It is FURTHER ORDERED that the Stipulated Consent Protection Order [DE 28] be amended to

add Nighthawk Company Police, LLC as a party thereto.



This the _______           May
           13th day of _______________, 2020.


                                                     THE HONORABLE LOUISE W. FLANAGAN




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